Case:Highly
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                                                                            Review

     1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                      EASTERN DIVISION
     3
            IN RE: NATIONAL              )
     4      PRESCRIPTION                 )   MDL No. 2804
            OPIATE LITIGATION            )
     5      _____________________        )   Case No.
                                         )   1:17-MD-2804
     6                                   )
            THIS DOCUMENT RELATES        )   Hon. Dan A.
     7      TO ALL CASES                 )   Polster
     8
                      THURSDAY, JANUARY 17, 2019
     9
              HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10                   CONFIDENTIALITY REVIEW
    11                              – – –
    12                  Videotaped deposition of Kevin
    13     Webb, Fact Deposition, Volume I, held at the
    14     offices of STINSON LEONARD STREET LLP, 7700
    15     Forsyth Boulevard, Suite 1000, St. Louis,
    16     Missouri, commencing at 2:36 p.m., on the
    17     above date, before Carrie A. Campbell,
    18     Registered Diplomate Reporter and Certified
    19     Realtime Reporter.
    20
    21
    22                             – – –
                      GOLKOW LITIGATION SERVICES
    23           877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com
    24
    25

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    1         APPEARANCES:                                  1                   INDEX
    2
    3     KELLER ROHRBACK LLP                               2                           PAGE
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             CHANELE REYES                                  5    BY MR. GOTTO............................... 7
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   25

                                                  Page 3                                                               Page 5
    1     JACKSON KELLY PLLC                                1          VIDEOGRAPHER: We are now on        14:36:03
          BY: JAMES D. JOHNSON                              2     the record. My name is James Arndt. 14:36:04
    2        jdjohnson@jacksonkelly.com
             (VIA TELECONFERENCE)                           3     I'm a videographer for Golkow             14:36:06
    3     221 NW Fifth Street
          Evansville, Indiana 47708                         4     Litigation Services.                14:36:07
    4     (812) 422-9444
          Counsel for AmerisourceBergen                     5          Today's date is January 17,        14:36:07
    5
    6                                                       6     2019, and the time is 2:36 p.m.          14:36:11
          JONES DAY                                         7         This video deposition is being       14:36:13
    7     BY: LOUIS P. GABEL
             lpgabel@jonesday.com                           8     held in St. Louis, Missouri, in the      14:36:16
    8     150 West Jefferson Avenue, Suite 2100
          Detroit, Michigan 48226-4438                      9     matter of the National Prescription       14:36:18
    9     (614) 469-3939
          Counsel for Walmart                              10     Opiate Litigation, for the United        14:36:21
   10
   11                                                      11     States District Court for the Northern 14:36:23
          ROPES & GRAY, LLP                                12     District of Ohio, Eastern Division.    14:36:25
   12     BY: BRIEN T. O'CONNOR
             brien.o'connor@ropesgray.com                  13          The deponent is Kevin Webb.          14:36:25
   13        JOSH GOLDSTEIN
             joshua.goldstein@ropesgray.com                14          Will counsel please identify       14:36:27
   14     800 Boylston Street
          Boston, Massachusetts 02199-3600                 15     themselves.                     14:36:29
   15     (617) 951-7000
          Counsel for Mallinckrodt                         16        MR. GOTTO: Gary Gotto, Keller 14:36:30
   16
   17                                                      17     Rohrback, LLP, for the plaintiffs. 14:36:33
          ARNOLD & PORTER KAYE SCHOLER, LLP                18          MS. REYES: Chanele Reyes,             14:36:33
   18     BY: PHILIP A. GIORDANO
             Philip.Giordano@arnoldporter.com              19     Keller Rohrback, for the plaintiffs.      14:36:34
   19        (VIA TELECONFERENCE)
          601 Massachusetts Avenue, NW                     20          MR. KAWAMOTO: Dean Kawamoto,                    14:36:35
   20     Washington, DC 20001-3743
          (202) 942-5000                                   21     Keller Rohrback, for the plaintiffs.      14:36:38
   21     Counsel for Endo Pharmaceuticals                 22         MR. KELLY: Seamus Kelly,                14:36:39
          Inc., and Endo Health Solutions Inc.
   22
   23                                                      23     Branstetter, Stranch and Jennings, for     14:36:39
        VIDEOGRAPHER:                                      24     the Tennessee plaintiffs.              14:36:39
   24      JAMES ARNDT,
           Golkow Litigation Services                      25          MR. STRANCH: Jim Stranch from             14:36:43
   25             –––
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    1      same firm, same plaintiffs.         14:36:44                 1            Did you engage in any other         14:38:08
    2          MR. GABEL: Louis Gabel from           14:36:45           2   preparation for your individual testimony,        14:38:11
    3      Jones Day on behalf of Walmart.         14:36:48             3   other than the preparation you've already        14:38:12
    4          MS. HARMON: Sarah Harmon with 14:36:49                   4   described in the context of your 30(b)(6)? 14:38:14
    5      Armstrong Teasdale on behalf of         14:36:53             5       A. No, nothing.                     14:38:17
    6      Cardinal Health.                 14:36:54                    6       Q. Okay. Have you ever given a             14:38:19
    7          MR. GOLDSTEIN: Josh Goldstein, 14:36:55                  7   deposition before today?                   14:38:21
    8      Ropes & Gray, on behalf of the         14:36:56              8       A. I have.                       14:38:23
    9      witness, Mallinckrodt, LLC, and SpecGx 14:36:57              9       Q. And on how many occasions?                14:38:24
   10      LLC.                         14:37:00                       10       A. One.                          14:38:27
   11          MR. O'CONNOR: Brien O'Connor             14:37:01       11       Q. Okay. And what did it pertain 14:38:28
   12      from Ropes & Gray on behalf of the        14:37:02          12   to?                                14:38:29
   13      witness, Kevin Webb, Mallinckrodt,        14:37:04          13       A. It pertained to -- well, I         14:38:29
   14      LLC, and SpecGx, LLC.                 14:37:06              14   don't even know the context. It was with         14:38:36
   15          VIDEOGRAPHER: Will attorneys            14:37:09        15   Restoril, one of our -- one of our           14:38:38
   16      present by phone please introduce       14:37:09            16   nonpromoted pharmaceutical products, on             14:38:40
   17      themselves?                    14:37:12                     17   pricing. I don't know if it was pricing,       14:38:45
   18          MR. ROBERTS: Ryan Roberts,             14:37:15         18   but -- do you remember the context of it?         14:38:47
   19      Covington & Burling, on behalf of        14:37:16           19            It was -- I think it had to do 14:38:48
   20      McKesson.                       14:37:18                    20   with a pricing issue, but this was six years 14:38:50
   21          MR. JOHNSON: Jim Johnson,             14:37:18          21   ago.                               14:38:51
   22      Jackson Kelly, on behalf of          14:37:20               22       Q. Okay. It was a                   14:38:52
   23      AmericanBerg -- AmeriBergenSource           14:37:23        23   Mallinckrodt-related matter --               14:38:53
   24      {sic}.                      14:37:28                        24       A. It was a Mallinckrodt-related          14:38:54
   25          VIDEOGRAPHER: Our court                14:37:28         25   matter, yes, sir.                     14:38:56

                                                            Page 7                                                              Page 9
    1      reporter is Carrie Campbell, and she   14:37:29              1       Q. Okay. And your -- what was the 14:38:57
    2      will now swear in the witness.       14:37:31                2   nature of your knowledge as to matters that 14:38:58
    3                                                                   3   were at issue in that litigation as far as 14:39:03
    4                KEVIN WEBB,                                        4   you know?                              14:39:04
    5   of lawful age, having been first duly sworn                     5       A. At that time, I was the product 14:39:05
    6   to tell the truth, the whole truth and                          6   manager, senior product manager, of the           14:39:07
    7   nothing but the truth, deposes and says on                      7   brand.                              14:39:08
    8   behalf of the Plaintiffs, as follows:                           8       Q. Okay. And what was the brand? 14:39:08
    9                                    14:37:39                       9       A. Restoril.                     14:39:09
   10             DIRECT EXAMINATION                     14:37:39      10       Q. And what type of medication is 14:39:10
   11   QUESTIONS BY MR. GOTTO:                             14:37:39   11   that?                              14:39:11
   12       Q. Good afternoon, Mr. Webb.              14:37:40         12       A. Restoril is a sleep aid, a         14:39:11
   13       A. Good afternoon.                   14:37:41              13   temazepam.                             14:39:18
   14       Q. My name is Gary Gotto, as I            14:37:42         14       Q. Okay. Okay. So apart from              14:39:18
   15   just shared. I'm with the law firm Keller       14:37:44       15   that deposition, have you otherwise ever         14:39:37
   16   Rohrback representing plaintiffs in this       14:37:46        16   testified under oath?                    14:39:39
   17   matter.                             14:37:47                   17       A. No.                          14:39:40
   18             Thank you for taking the time      14:37:48          18       Q. Okay. Can you briefly describe 14:39:40
   19   this afternoon to give us a head start on      14:37:49        19   for me your post-high school education?           14:39:45
   20   your personal deposition so we can perhaps         14:37:53    20       A. Education?                       14:39:47
   21   get done earlier tomorrow than we otherwise 14:37:55           21       Q. Yeah.                         14:39:49
   22   would have been able to.                   14:38:01            22       A. Let's see. Post-high school. 14:39:50
   23             I know you testified earlier    14:38:01             23   I graduated from St. Louis University in         14:39:54
   24   today with respect to what you did to prepare 14:38:03         24   1987, and then I graduated with a master's, 14:40:00
   25   for your 30(b)(6) testimony.                14:38:04           25   an MBA, from the University of                 14:40:02

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    1   Illinois-Springfield in 1990 -- 1997.          14:40:05         1   would, your employment after graduating            14:42:11
    2        Q. And what was your undergraduate 14:40:10                2   college and up until the time you got your       14:42:15
    3   major?                              14:40:14                    3   MBA.                                 14:42:18
    4        A. It was a bachelor of science in 14:40:14                4        A. Let's see. Following college, 14:42:19
    5   behavioral sciences.                     14:40:16               5   I spent a few months at a financial firm. I 14:42:28
    6        Q. Apart from your bachelor's            14:40:18          6   don't remember who that was. I don't            14:42:39
    7   degree and your MBA, any other degrees that 14:40:23            7   remember who it was. It was -- it was a -- 14:42:40
    8   you hold?                            14:40:26                   8   it was a -- it was a warehouse position. It 14:42:43
    9        A. No.                         14:40:26                    9   was not even -- it was not in finances,       14:42:49
   10        Q. Any other professional              14:40:27           10   believe me.                           14:42:50
   11   certifications?                       14:40:31                 11            And then from there, I took a      14:42:52
   12        A. No.                         14:40:31                   12   job with -- and that was -- at the time was 14:42:55
   13        Q. Any other licenses?               14:40:32             13   McDonnell Douglas, which is now Boeing               14:42:58
   14        A. No.                         14:40:33                   14   aircraft, and I worked there for            14:43:02
   15        Q. Have you, again, apart from           14:40:34         15   approximately three years as what we would          14:43:04
   16   your coursework leading up to your bachelor's 14:40:45         16   call a business analyst. I was a project      14:43:05
   17   degree and your MBA, otherwise taken any            14:40:48   17   planner/analyst working with engineers.          14:43:10
   18   other non-degree-related coursework?             14:40:51      18            From there I went to a company 14:43:12
   19        A. From a institution of higher         14:40:54          19   called Jordan and Associates here in           14:43:18
   20   learning or just in -- for personal         14:41:00           20   St. Louis. It was a small consulting firm       14:43:20
   21   advancement?                            14:41:02               21   focusing on record retention. So it was a       14:43:23
   22        Q. Well, let's start with           14:41:03              22   sales position.                       14:43:26
   23   institution of higher learning.            14:41:05            23            From there, then I went to a      14:43:28
   24        A. No.                         14:41:08                   24   company called Option Care. Option Care is 14:43:34
   25        Q. Okay.                        14:41:10                  25   a -- was a home infusion company.               14:43:38

                                                          Page 11                                                              Page 13
    1       A. I'm just trying to think. No. 14:41:10                   1            And then from there I was --      14:43:45
    2   I mean, nothing that would have been through 14:41:12           2   took on a position as a marketing manager at 14:43:46
    3   a university or college.               14:41:14                 3   Memorial Hospital in Springfield, Illinois, 14:43:50
    4       Q. Okay. Have you taken any --           14:41:16           4   at which point then I started and did my MBA. 14:43:54
    5   engaged in any coursework related to your        14:41:19       5       Q. Okay. And you used the term            14:43:57
    6   professional activities?                14:41:23                6   "home infusion." I'm not familiar with that. 14:44:03
    7       A. There would have been                14:41:23            7            What's the nature of that --     14:44:04
    8   presentations, skill classes. We -- those -- 14:41:29           8       A. Home care services. It was a 14:44:06
    9   I mean, and what they were, I don't know. I 14:41:37            9   home care company that would -- it was           14:44:07
   10   mean, this was years ago.                 14:41:38             10   operated out of a small retail pharmacy that 14:44:10
   11       Q. Okay. Did any of your               14:41:39            11   would develop medical products, compounded 14:44:14
   12   undergraduate coursework relate in any way to 14:41:42         12   medical products, for home delivery, use at 14:44:19
   13   pharmaceuticals?                       14:41:45                13   home. Home antibiotics, extended              14:44:23
   14       A. No.                        14:41:46                     14   antibiotics, feeding -- enteral nutrition, 14:44:26
   15       Q. Okay. How about to the               14:41:46           15   feeding nutrition.                     14:44:29
   16   Controlled Substances Act?                  14:41:50           16            So someone who's been             14:44:31
   17       A. No.                        14:41:50                     17   discharged from a hospital but is still in 14:44:33
   18       Q. And any of the work in              14:41:51            18   need of a clinical -- or a therapeutic need, 14:44:35
   19   connection with your MBA relate in any way to 14:41:57         19   instead of keeping them in the hospital, they 14:44:36
   20   pharmaceuticals?                       14:41:59                20   would treat them at home.                  14:44:39
   21       A. No.                        14:41:59                     21       Q. Okay. Okay. And describe for 14:44:39
   22       Q. Or the Controlled Substances          14:42:00          22   me, if you would, your employment after          14:44:41
   23   Act?                             14:42:01                      23   obtaining your MBA.                       14:44:44
   24       A. No.                        14:42:01                     24       A. Following that, I went to a         14:44:45
   25       Q. Okay. Describe for me, if you 14:42:01                  25   company called -- what is now                14:44:49

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    1 Sanofi pharmaceut -- I went into                 14:44:52        1        A. My wife's parents had taken          14:46:58
    2   pharmaceuticals. That was -- so I started 14:44:55             2   ill. They're from central Illinois, and we 14:47:00
    3   with a company called Sanofi -- at the time 14:44:58           3   were living on the East Coast, and she wanted 14:47:02
    4   it was Pasteur Mérieux Connaught -- as a           14:45:00    4   to come home.                           14:47:04
    5   sales rep in the central Illinois territory, 14:45:03          5        Q. Okay. So when you joined              14:47:05
    6   which would have been around the Springfield, 14:45:09         6   Mallinckrodt, what was -- what position did 14:47:07
    7   Illinois, area.                       14:45:11                 7   you take?                            14:47:08
    8             From there I was promoted into 14:45:12              8        A. I came in as a senior project 14:47:08
    9   a position, what we call an insider, an         14:45:15       9   manager. I was put in -- I had              14:47:15
   10   in-house sales manager. These were managing 14:45:18          10   responsibility then for two products:         14:47:16
   11   phone representatives, sales representatives, 14:45:22        11   Tofranil-PM, which is an antidepressant, and 14:47:23
   12   who managed a bank of calls, phones -- phones 14:45:24        12   Restoril, which is temazepam, which is a         14:47:27
   13   that would call into small physician offices. 14:45:28        13   sleep aid.                          14:47:33
   14             From there, then I was promoted 14:45:32            14        Q. And how long did you hold the           14:47:34
   15   to a district or field manager where I came 14:45:34          15   senior product manager position at             14:47:38
   16   back to the St. Louis area, and I had          14:45:37       16   Mallinckrodt?                          14:47:40
   17   responsibility for several states of field     14:45:42       17        A. Until 2009.                   14:47:40
   18   representatives.                        14:45:45              18        Q. And during that period, to whom 14:47:42
   19             And then from there I was          14:45:46         19   did you report?                        14:47:46
   20   promoted back to our home office as a -- into 14:45:47        20        A. A gentleman by the name of Rod 14:47:46
   21   product management, so as a product -- an          14:45:51   21   Novak.                              14:47:49
   22   associate product manager, and then promoted 14:45:54         22        Q. And describe for me, if you          14:47:50
   23   to a product manager.                      14:45:56           23   would, generally, your duties as a senior       14:47:59
   24             And then how far am I going?         14:46:01       24   product manager at Mallinckrodt.               14:48:04
   25             I'm up -- then I'm going to be 14:46:03             25        A. The senior product manager            14:48:05

                                                           Page 15                                                                Page 17
    1   leaving the company at that point because        14:46:04      1 would be responsible for development of the       14:48:06
    2   I -- from there I then went to -- I left    14:46:05           2 sales material for the sales force,         14:48:09
    3   there and came to work for Mallinckrodt in        14:46:07     3 forecasting, inventory, making sure we have        14:48:16
    4   2007.                              14:46:10                    4 enough product available, messaging around          14:48:18
    5        Q. Okay. So just a couple more          14:46:10          5 what is it that we want to be saying in the     14:48:25
    6   questions about your time at --             14:46:16           6 medical community.                    14:48:26
    7        A. Sanofi.                      14:46:19                  7      Q.    Okay. Were any of the products 14:48:30
    8        Q. -- Sanofi. Not Sanofi?            14:46:20             8 that you had responsibility for as a senior     14:48:36
    9        A. Some call it Sanofi. I always 14:46:24                 9 product manager scheduled under the              14:48:38
   10   called it Sanofi.                     14:46:28                10 Controlled Substances Act?                    14:48:41
   11        Q. Okay.                        14:46:29                 11    A. Restoril was a C -- Restoril    14:48:43
   12        A. Like the Santa Fe Trail.          14:46:29            12 was a C-IV product. Tofranil-PM is an     14:48:49
   13        Q. So what were the nature of the 14:46:29               13 antidepressant. I would say it was a C-III,     14:48:55
   14   products that you had responsibility for at 14:46:31          14 but I'd have to be -- I'd have to refresh my    14:48:57
   15   Sanofi?                             14:46:36                  15 memory on that.                        14:48:59
   16        A. They were biologicals,             14:46:36           16    Q. Okay. In your role as senior 14:49:00
   17   vaccines, pediatric vaccines.              14:46:39           17 product manager, did you have occasion to 14:49:02
   18        Q. So no controlled substances          14:46:41         18 become familiar with any of the regulatory        14:49:05
   19   under the Controlled Substances Act?            14:46:42      19 requirements imposed by the Controlled            14:49:08
   20        A. No.                         14:46:43                  20 Substances Act over the products that you had 14:49:12
   21        Q. So you joined Mallinckrodt in         14:46:44        21 responsibility for?                   14:49:13
   22   2007, I believe you indicated?              14:46:51          22      A.    The -- not that I'm aware of. 14:49:14
   23        A. Correct.                     14:46:52                 23 I mean, and I say that to the extent that      14:49:23
   24        Q. And what was your reason for           14:46:53       24 the -- any of the marketing efforts that we      14:49:25
   25   leaving Sanofi to join Mallinckrodt?           14:46:55       25 would have been engaged with would have been             14:49:29

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    1   coordinated through our med/legal review        14:49:31             1   the generics side of the business. No.        14:51:44
    2   process.                           14:49:34                          2       Q. How about Ginger Collier?             14:51:45
    3            And so had they then shared       14:49:35                  3       A. I knew who she was, but I did 14:51:47
    4   with me, in the process of taking any of our 14:49:38                4   not have interaction with her, no.          14:51:49
    5   material through the review process to be      14:49:39              5       Q. So fair -- am I understanding        14:51:52
    6   approved for distribution, they then may have 14:49:41               6   correctly the products you had responsibility 14:52:06
    7   shared with that, but I did not have        14:49:43                 7   for as senior product manager were branded        14:52:08
    8   anything -- any personal, firsthand training 14:49:44                8   products? Is that correct?               14:52:10
    9   on the Controlled Substances Act.            14:49:47                9       A. Correct. These were detailed          14:52:11
   10       Q. Okay. Did you have any              14:49:48                 10   by our sales force.                    14:52:14
   11   responsibilities as a senior product manager 14:49:53               11       Q. Okay. And who had -- who had 14:52:15
   12   that pertained to the monitoring of orders to 14:49:56              12   senior responsibility for marketing with       14:52:18
   13   determine if they were suspicious under the 14:50:01                13   respect to those products?                14:52:21
   14   Controlled Substances Act?                 14:50:03                 14       A. That would have been my boss, 14:52:21
   15       A. No.                        14:50:04                          15   Rod Novak.                            14:52:24
   16       Q. Do you know if anyone had such 14:50:04                      16       Q. Okay. I think you indicated          14:52:24
   17   responsibility with respect to orders for    14:50:10               17   you had the senior product manager position 14:52:33
   18   products that you had responsibility for as 14:50:13                18   until 2009.                         14:52:37
   19   senior product manager?                   14:50:15                  19            Did you take a new position at 14:52:37
   20       A. The individual that was leading 14:50:16                     20   that point?                         14:52:39
   21   our review process at the time -- I don't    14:50:22               21       A. I did.                     14:52:39
   22   know if these products fell in under that, 14:50:28                 22       Q. What was that?                   14:52:40
   23   but it was Jason Jones who would be           14:50:31              23       A. I was promoted to product            14:52:40
   24   coordinating and reviewing the release of      14:50:34             24   director. I had responsibility for a new      14:52:43
   25   orders.                           14:50:36                          25   product of ours that we brought in, acquired, 14:52:45

                                                                  Page 19                                                              Page 21
    1      Q.     As senior product manager, did       14:50:37              1 called PENNSAID, which is an NSAID, a topical 14:52:48
    2 you interact in any way with Jim Rausch?             14:50:46          2 NSAID.                              14:52:53
    3      A.     No.                      14:50:49                          3      Q.   I'm sorry, a topical --        14:52:54
    4      Q.     How about Cathy Stewart?             14:50:49              4      A.   It's a topical NSAID.            14:52:55
    5      A.     I'm trying to place -- I'm       14:50:52                  5      Q.   Okay. And what were your             14:52:58
    6 trying to see my memory of Cathy Stewart was. 14:50:57                 6 responsibilities as product director?         14:53:00
    7            Can you remind me what              14:51:01                7      A.   Very similar to the senior        14:53:01
    8 department she was in?                       14:51:02                  8 product manager. You would be responsible             14:53:03
    9      Q.     I believe she was in customer       14:51:04               9 for all aspects of the brand: messaging,       14:53:05
   10 service.                            14:51:06                          10 material, inventory, packaging.              14:53:09
   11      A.     No. And if I did, it was just     14:51:07                11    Q. And to whom did you report as    14:53:11
   12 through e-mail. But I can't even draw a           14:51:10            12 product -- at product director?     14:53:14
   13 recollection of who she is.                  14:51:13                 13      A.   I still reported to Rod Novak.     14:53:15
   14      Q.     Fair enough.                 14:51:13                     14      Q.   And for how long did you hold        14:53:17
   15            How about Karen Harper?              14:51:14              15 the product director position?              14:53:28
   16      A.     Karen Harper. What department?          14:51:17          16      A.   Approximately mid-2013.             14:53:29
   17      Q.     I believe compliance.            14:51:19                 17      Q.   As product director, did you       14:53:31
   18      A.     Oh, yes. Yes, I would -- well,      14:51:21              18 have occasion to become familiar with any of          14:53:39
   19 no, I know Karen, yes, but she is involved          14:51:26          19 the regulatory requirements imposed by the          14:53:41
   20 with our opioid DEA compliance. I would not             14:51:29      20 Controlled Substances Act over any product            14:53:43
   21 have dealt with her at that time.             14:51:32                21 for which you had responsibility?             14:53:45
   22      Q.     Okay. How about Kate               14:51:33               22      A.   No, it was not a controlled       14:53:47
   23 Muhlenkamp? Or you may have known her by the 14:51:39 23 substance.                                          14:53:50
   24 name Kate Neely.                            14:51:41                  24      Q.   Okay. And am I understanding          14:53:50
   25      A.     Yeah, she was the -- she was on      14:51:43             25 your testimony that your job responsibilities 14:53:55


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    1   as product director were very similar to what 14:53:58         1 ways to address appropriate, safe use,          14:56:36
    2   those responsibilities had been as senior      14:54:03        2   balanced pain management. My focus at that 14:56:40
    3   product manager? Is that fair?              14:54:05           3   time is looking at how to advance multimodal 14:56:43
    4        A. It's very similar. I mean,        14:54:06             4   analgesia, minimize use of opioids, patient 14:56:50
    5   when I was senior product director, senior       14:54:08      5   safety, appropriate safe use of opioids and 14:56:53
    6   product manager, I was an in of one, so         14:54:12       6   disposal of opioids.                   14:56:58
    7   titles didn't mean -- you're doing the job, 14:54:15           7       Q. And I think you indicated that 14:56:59
    8   and so it was -- we were very thin-staffed. 14:54:17           8   when you took the position, the advocacy        14:57:05
    9        Q. Okay. So mid-2013, you took a 14:54:23                 9   position, you were starting up that function 14:57:07
   10   new position?                         14:54:26                10   at Mallinckrodt.                      14:57:11
   11        A. Correct.                     14:54:27                 11            So was -- did that position not 14:57:11
   12        Q. And what was that?                14:54:28            12   exist before you took it?                14:57:15
   13        A. I was -- I took on              14:54:28              13       A. Not -- not -- not in a -- in an 14:57:16
   14   responsibility for what -- leading up or      14:54:31        14   official capacity. The -- any type of       14:57:20
   15   starting our advocacy department.             14:54:34        15   engagement that the company may have had at 14:57:23
   16             So at that point I moved out     14:54:39           16   that time prior to that was with third-party 14:57:25
   17   from under our commercial team, and my             14:54:41   17   organizations. Would have been               14:57:30
   18   responsibility then was moved into -- head       14:54:44     18   compartmentalized through either medical         14:57:32
   19   count was moved into our government affairs, 14:54:47         19   affairs, communications. But it was not a 14:57:34
   20   public policy, communications department.          14:54:50   20   structured process, meaning that it wasn't a 14:57:41
   21        Q. And for -- and I'm sorry, what 14:54:52               21   defined responsibility.                 14:57:46
   22   was your title when you moved to the new          14:55:02    22       Q. Okay. And if I understood your 14:57:46
   23   position?                           14:55:04                  23   testimony a few moments ago, the creation of 14:57:56
   24        A. Director of advocacy.             14:55:05            24   the position wasn't somehow related to the 14:58:00
   25        Q. And for how long did you hold          14:55:07       25   Covidien/Mallinckrodt transaction that was 14:58:03

                                                          Page 23                                                          Page 25
    1   that position?                      14:55:12                   1   going on at the time.                 14:58:06
    2       A. Let's see. It's 2019. Until      14:55:13               2            Did I understand you correctly? 14:58:07
    3   end of 2016? End of 2016.                 14:55:22             3       A. Mallinckrodt was spinning out         14:58:09
    4       Q. Okay. As director of advocacy, 14:55:28                 4   from under Covidien at the time, and we were 14:58:10
    5   to whom did you report?                  14:55:34              5   going to be a, as we are now, a separate -- 14:58:13
    6       A. At that time my manager was           14:55:36          6   an independent company. So it was a new          14:58:16
    7   Derek Naten within government affairs.         14:55:39        7   company to the extent of relationships. And 14:58:19
    8       Q. Okay. And did you report to         14:55:42            8   we had been known as an identity of Covidien, 14:58:22
    9   him during the entire time you were director 14:55:48          9   so we had to reestablish the Mallinckrodt      14:58:25
   10   of advocacy?                         14:55:51                 10   brand.                           14:58:27
   11       A. Yes.                       14:55:51                    11       Q. Okay. So the types of             14:58:28
   12       Q. Okay. What was your reason for 14:55:53                12   responsibilities you were to have as the      14:58:34
   13   moving from the product director to director 14:55:54         13   director of advocacy at Mallinckrodt, had      14:58:36
   14   of advocacy position?                   14:55:56              14   there been someone who had similar             14:58:39
   15       A. I was asked to do so by the        14:55:58            15   responsibilities at Covidien?             14:58:42
   16   company. We -- at that time Mallinckrodt was 14:56:02         16       A. Within the Covidien parent           14:58:43
   17   in the process of spinning out from under      14:56:04       17   company, I don't know. I mean, they -- we       14:58:47
   18   Covidien. We wanted to -- we needed an          14:56:06      18   didn't interact with them. I mean, within -- 14:58:51
   19   organization -- we needed an individual to -- 14:56:11        19   Mallinckrodt, as the pharmaceutical division 14:58:53
   20   from a patient -- or a public engagement, so 14:56:13         20   of Covidien, as I mentioned, those would have 14:58:55
   21   they asked if I would lead that effort      14:56:20          21   been handled through medical affairs,         14:58:58
   22   with -- as representative of Mallinckrodt     14:56:25        22   Mallinckrodt medical affairs.              14:59:01
   23   with associations and organizations.         14:56:28         23       Q. Okay. So you said you were            14:59:03
   24            And the advocacy department was 14:56:33             24   asked to take the position.             14:59:08
   25   charged then with advancing and looking for 14:56:34          25            Who -- by whom were you asked? 14:59:09

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    1       A. The leadership -- senior           14:59:12              1   team and just contributing where I can. But 15:01:28
    2   leadership of the company.                 14:59:14             2   I didn't have any direct responsibility of -- 15:01:32
    3       Q. And who -- by name, who was              14:59:15        3   charged with any direct responsibility for      15:01:35
    4   that?                             14:59:17                      4   the brand.                           15:01:37
    5       A. Specifically that was Terry         14:59:17             5       Q. Okay. So there's -- and is          15:01:38
    6   Terifay, and he was the vice president of       14:59:20        6   this in the mid-2013 time frame?              15:01:41
    7   marketing.                           14:59:24                   7       A. Yeah, that was all in that          15:01:44
    8       Q. Were you given a formal job            14:59:26          8   transitionary period. It was very fluid.      15:01:46
    9   description?                         14:59:31                   9       Q. Okay. So prior to mid-2013,            15:01:49
   10       A. No.                         14:59:31                    10   though, and this transitionary period that 15:01:50
   11       Q. At least not a written --         14:59:36              11   you're describing, you hadn't had any          15:01:53
   12       A. Yeah, there was no -- just it 14:59:38                  12   responsibilities with respect to any aspect 15:01:55
   13   was do the good work you're doing here, do it 14:59:42         13   of Mallinckrodt's opioid, whether branded or 15:01:56
   14   out there.                          14:59:44                   14   generic, business, correct?                15:01:58
   15       Q. Okay. Were you provided with a 14:59:45                 15       A. Correct.                       15:01:59
   16   staff to assist you?                  14:59:51                 16       Q. Okay. So is it fair to say         15:02:00
   17       A. No.                         14:59:52                    17   that part of the transition into taking the 15:02:03
   18       Q. Were you provided with any             14:59:53         18   director of advocacy position was to           15:02:07
   19   specific objectives or goals?             15:00:02             19   familiarize yourself with Mallinckrodt's both 15:02:11
   20       A. Not to the extent of -- it was 15:00:05                 20   branded and generic opioid business?            15:02:15
   21   an -- it was very uncharted territory,       15:00:13          21       A. Not with the generics. I mean, 15:02:18
   22   meaning that we -- it was more -- the primary 15:00:18         22   at that point it wasn't any specific brand. 15:02:20
   23   objective was establish Mallinckrodt as a       15:00:20       23   It wasn't a branded or a generic. It was       15:02:23
   24   presence, so -- as an entity in the medical 15:00:23           24   advancing Mallinckrodt's initiatives to        15:02:25
   25   community with patient groups so people knew 15:00:27          25   dispose of unused opioids, regardless whether 15:02:28

                                                          Page 27                                                            Page 29
    1   who Mallinckrodt was.                      15:00:30             1   they were branded or generic.               15:02:31
    2            So a lot of it was just meet     15:00:31              2        Q. Okay. So as -- at least          15:02:32
    3   and greet. This is who we are. We're           15:00:32         3   initially when you became director of          15:02:34
    4   working on preventing opioid issues,           15:00:35         4   advocacy, were your -- were your              15:02:35
    5   diversion, get rid of unused opioids type of 15:00:38           5   responsibilities focused on the opioid        15:02:39
    6   things.                            15:00:41                     6   disposal issue?                       15:02:43
    7       Q. Okay. So prior to taking the         15:00:42            7        A. Correct, yes.                 15:02:45
    8   director of advocacy position, if I         15:00:43            8        Q. Okay. And so you weren't            15:02:46
    9   understood your testimony earlier correctly, 15:00:46           9   otherwise involved in advocacy related to       15:02:47
   10   you didn't have any responsibility for any of 15:00:50         10   other products that Mallinckrodt offered; is 15:02:52
   11   Mallinckrodt's opioid business; is that       15:00:52         11   that fair?                        15:02:55
   12   correct?                            15:00:54                   12        A. They -- we had a product           15:02:55
   13       A. No. I mean, I did have              15:00:54            13   called -- let's see. We were part of that    15:02:59
   14   responsibility -- or during that           15:00:57            14   advocacy initiative that was for multimodal 15:03:01
   15   transitionary period from PENNSAID to the           15:01:00   15   analgesia, which was again expanding -- we        15:03:04
   16   advocacy, before advocacy that has -- that -- 15:01:01         16   made -- manufacture a full complement of          15:03:08
   17   before that was established within -- as a     15:01:04        17   analgesics. So we were trying to -- we were 15:03:12
   18   department within the company, I worked for 15:01:06           18   looking at MMA as a way to help educate the 15:03:17
   19   about two, three months on the Xartemis          15:01:09      19   community, whether it being patients,          15:03:24
   20   product, but that was as a placeholder only. 15:01:14          20   groups -- not patients, but patient groups     15:03:26
   21       Q. And what do you mean when you             15:01:16      21   and/or providers regarding multimodal           15:03:28
   22   say it was "a placeholder only"?             15:01:18          22   approach to pain that doesn't rely strictly 15:03:32
   23       A. It was -- I was reporting in        15:01:19            23   or specifically on prescribing a opioid.      15:03:35
   24   to -- continued to report in to Rod Novak,      15:01:21       24        Q. Okay. Prior to the mid-2013          15:03:39
   25   but it was just being part of that project    15:01:24         25   time period, if I understood your earlier     15:03:49

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    1   testimony correctly, you didn't have any        15:03:53       1 get interest in. And so what we were trying         15:06:17
    2   responsibilities at Mallinckrodt for any       15:03:56        2   to do is figure out, you know, how do we          15:06:20
    3   analgesic products, correct?               15:03:59            3   create awareness regarding MMA, regardless of 15:06:23
    4       A. Correct.                      15:04:00                  4   the product's pharmacological treatment, but 15:06:27
    5       Q. Okay. Did you have, prior to          15:04:01          5   then also the whole notion of a balanced         15:06:29
    6   mid-2013, familiarity with the -- what you       15:04:07      6   approach to pain, which could be beyond just 15:06:31
    7   described as the MMA concept and                15:04:11       7   pharmacological treatment. It could be other 15:06:33
    8   Mallinckrodt's promotion of that concept?        15:04:16      8   types of therapies such as massage therapy or 15:06:35
    9       A. I was familiar with the -- yes, 15:04:18                9   chiropractic medicine.                    15:06:38
   10   the medications for that, but in my capacity 15:04:20         10            So the whole notion of a          15:06:39
   11   with advocacy, since I was not in a           15:04:22        11   wholistic approach to medicine and managing 15:06:40
   12   commercial realm, I was in policy, government 15:04:26        12   pain was what we were trying to advance.           15:06:43
   13   affairs, we weren't advocating any particular 15:04:28        13       Q. Okay. And so was there a              15:06:45
   14   product, but the notion and the therapeutic 15:04:31          14   difference then between the wholistic concept 15:06:47
   15   value proposition of MMA.                   15:04:35          15   that you just described and the MMA concept? 15:06:50
   16       Q. Okay. I'm just trying to           15:04:37            16       A. There would be. They would be 15:06:52
   17   understand how you came to develop sufficient 15:04:38        17   part and parcel of the same, though. The         15:06:54
   18   familiarity with the MMA concept and             15:04:41     18   wholistic approach to medicine -- to pain was 15:06:58
   19   Mallinckrodt's related products to           15:04:45         19   more than just -- was treatment beyond just 15:07:00
   20   effectively perform your advocacy position. 15:04:47          20   pharmacological treatment, pharmaceuticals. 15:07:02
   21            So that's really what I'm       15:04:51             21   That was -- that's a balanced approach.         15:07:06
   22   trying to get at here, is just how you came 15:04:52          22   Multimodal analgesia is just that; it's a     15:07:07
   23   to an understanding of what -- what            15:04:54       23   combination of different analgesics.           15:07:10
   24   Mallinckrodt's position was and what you were 15:04:57        24       Q. Okay. And do you know when                15:07:13
   25   trying to advocate for.                 15:04:59              25   Mallinckrodt first began to develop the -- or 15:07:17

                                                          Page 31                                                            Page 33
    1       A. Yeah, we would -- my role would 15:05:00                1   to promote the concept of MMA?                15:07:22
    2   work closely with the product teams, medical 15:05:03          2       A. It was right around that time       15:07:26
    3   affairs, so I was integrated into the aspects 15:05:06         3   of 2013 when I came into advocacy, as well       15:07:28
    4   of the business that would have clinical         15:05:09      4   2012.                             15:07:33
    5   content, clinical knowledge, then also brand 15:05:11          5       Q. Okay. So prior to you becoming 15:07:33
    6   awareness.                             15:05:15                6   involved in the advocacy function, who at       15:07:37
    7       Q. Okay. So which products were 15:05:16                   7   Mallinckrodt was, if you know, was involved 15:07:39
    8   of particular interest to you in terms of the 15:05:24         8   in promoting the MMA concept?                 15:07:46
    9   advocacy role and the MMA initiative?             15:05:27     9       A. That would have been coming out 15:07:49
   10       A. Well, the notion of MMA is to            15:05:31      10   of our clinical team and our commercial team 15:07:50
   11   reduce, significantly reduce, the amount of 15:05:35          11   that was driving that, with the health care 15:07:53
   12   opioids that you're using, but then also have 15:05:38        12   providers at the time within hospitals.      15:07:56
   13   adjunctive therapy or add-on therapy that was 15:05:41        13       Q. And do you know what the              15:07:59
   14   either an ibuprofen or an NSAID or, in some 15:05:44          14   impetus was at Mallinckrodt for developing       15:08:00
   15   cases if it's -- if it's a pharmacological 15:05:49           15   that MMA initiative?                    15:08:04
   16   treatment.                            15:05:54                16       A. Well, I do not know.              15:08:06
   17             So we made those products, so        15:05:54       17       Q. Okay.                       15:08:12
   18   it wasn't to say that we had any particular 15:05:56          18       A. Excuse me.                     15:08:12
   19   product.                             15:05:59                 19       Q. You understood, though, when           15:08:13
   20             We recognize that MMA,              15:05:59        20   you moved into the advocacy position that one 15:08:18
   21   particularly within hospitals, if you need to 15:06:01        21   of your objectives would be to foster the     15:08:22
   22   start a patient on an opioid, let's see how 15:06:05          22   development of the MMA initiative, correct? 15:08:24
   23   we can continue to advance MMA as -- it was a 15:06:09        23       A. For awareness of, yes.            15:08:27
   24   beginning -- it was a beginning -- an area 15:06:13           24       Q. What --                      15:08:30
   25   that the medical community was starting to         15:06:14   25       A. Awareness with the health care 15:08:30

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     1   providers, surgeon -- or there are physicians 15:08:32         1 surgery on some type of analgesic, which then 15:10:54
     2   that -- that were -- may not have been         15:08:36        2 led to less adverse events, shorter hospital    15:10:57
     3   familiar with the concept, so we would work 15:08:41           3 stays, more rapid recovery at home.             15:11:01
     4   through -- with medical affairs to create       15:08:43       4      Q.    Okay. And what were the -- can       15:11:05
     5   awareness of what MMA is.                    15:08:45          5 you describe generally for me the steps that      15:11:17
     6        Q. Okay. And the MMA concept as              15:08:47     6 you took in your advocacy role to try to         15:11:21
     7   it existed when you moved into the advocacy 15:08:52           7 promote this MMA initiative?                   15:11:25
     8   position, to the extent it's multimodal       15:08:55         8      A.    Well, there were several --     15:11:27
     9   analgesics, did Mallinckrodt manufacture all 15:09:01          9 just trying to understand how -- how would         15:11:32
    10   of the different analgesic products that       15:09:04       10 you communicate that out, I mean,               15:11:34
    11   would go into this multimodal approach?           15:09:06    11 understand -- you know, what is it that we        15:11:37
    12        A. We were manufacturer of the            15:09:10       12 want to say, "we" meaning what does the            15:11:39
    13   products, but there were -- it could be any 15:09:11          13 science support. How would you support --          15:11:44
    14   product that was -- that we -- that were -- 15:09:13          14 how would you communicate that out. How do            15:11:45
    15   that was conceptually part of an MMA. So           15:09:15   15 you create awareness regarding MMA.                15:11:47
    16   that's why we didn't advocate any particular 15:09:17         16         So we would look to partner      15:11:49
    17   product, because there are manufacturers out 15:09:20         17 with professional organizations. There's a 15:11:51
    18   there of MMA products that we did not             15:09:22    18 group called ERISA, E-R-I-S-A. I forget what 15:11:55
    19   manufacture.                           15:09:24               19 the acronym -- but it was anesthesiologists,     15:12:05
    20             But we believed in the concept 15:09:25             20 and understand -- you know, helping them           15:12:09
    21   of MMA, and that's what we were trying to          15:09:26   21 understand that, you know, during the pre --      15:12:11
    22   advance.                             15:09:28                 22 pre and postop pain about the concept of MMA. 15:12:13
    23        Q. Was there -- were there medical 15:09:28              23           We would partner with hospital       15:12:16
    24   or scientific studies that -- that had been 15:09:34          24 associations, hospitals, and those who were       15:12:19
    25   performed that -- that were the underpinnings 15:09:38        25 doing MMA and were generating -- had positive 15:12:21

                                                           Page 35                                                              Page 37
     1   of the MMA initiative at the time you moved 15:09:41           1   results. How could we replicate that. How 15:12:26
     2   into this position?                  15:09:44                  2   could we bring that knowledge to other           15:12:28
     3       A. There were.                   15:09:44                  3   hospitals. How could we create awareness          15:12:31
     4       Q. And can you describe for me          15:09:45           4   that -- with providers that there are       15:12:37
     5   generally what the -- what the general       15:09:49          5   potentially several ways of managing pain         15:12:43
     6   description of this multimodal approach would 15:09:55         6   that didn't have to require an opioid.       15:12:45
     7   be?                              15:09:57                      7       Q. And you also described this           15:12:47
     8       A. The general concept, again,         15:09:57            8   wholistic or balanced approach to pain          15:12:54
     9   we're focusing the effort within hospitals, 15:10:01           9   management.                            15:12:57
    10   surgical procedures. So if you -- when       15:10:05         10       A. Uh-huh.                        15:12:57
    11   patients who undergo a surgical procedure, if 15:10:11        11       Q. Did you also understand that to 15:12:58
    12   you start them on an opioid at the beginning 15:10:14         12   be part of your responsibility in the        15:13:00
    13   of the surgery and you then continue them on 15:10:16         13   advocacy role, to advocate for that sort of 15:13:02
    14   an opioid following surgery, data suggests     15:10:19       14   approach to pain management?                  15:13:05
    15   that those patients who are in the hospital 15:10:24          15       A. That was the impetus behind the 15:13:06
    16   tend to have a greater experience of adverse 15:10:25         16   Alliance for Pain Management, recognizing          15:13:09
    17   events or episodes within the hospital that 15:10:29          17   that not every patient needed a             15:13:12
    18   potentially could lead to an adverse event    15:10:32        18   pharmacological treatment, and so how -- how 15:13:14
    19   such as a fall or drowsiness.            15:10:34             19   could patients who needed -- and/or the         15:13:17
    20            The journal -- clinical      15:10:37                20   patient would want to have a treatment beyond 15:13:21
    21   journals and studies at the time were showing 15:10:40        21   an opioid, have access to it. What were the 15:13:23
    22   that if you can introduce a multimodal       15:10:41         22   barriers to treatment, insurance companies, 15:13:28
    23   approach to pain, pre and postop, that you     15:10:44       23   others.                            15:13:31
    24   can minimize then the amount of time you        15:10:50      24       Q. And had anyone at                  15:13:32
    25   would have to keep a patient following        15:10:51        25   Mallinckrodt -- well, when did Mallinckrodt's 15:13:36

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     1   efforts in advancing the wholistic or          15:13:41         1 enforcement. We make a GPS tracking system             15:15:37
     2   balanced approach begin?                    15:13:44            2 available to retail pharmacies if there's a     15:15:40
     3       A. That 2012 time frame.                15:13:46            3   concern or risk of theft, burglary in the     15:15:43
     4       Q. Okay. And so prior to your            15:13:50           4   pharmacy.                             15:15:48
     5   taking the advocacy position, who at            15:13:52        5             And so Mallinckrodt, as part of 15:15:48
     6   Mallinckrodt was involved in advancing the          15:13:55    6   our broader platform, which I was leading, 15:15:49
     7   wholistic or balanced approach to pain           15:13:57       7   is, like, what are all the things we can do 15:15:52
     8   management?                             15:14:00                8   to be good stewards in patient safety,        15:15:54
     9       A. That would have been our              15:14:00           9   community safety, advancing alternatives to 15:15:59
    10   medical affairs team.                    15:14:01              10   opioids.                           15:16:01
    11       Q. And who individually would have 15:14:02                11        Q. So you kind of identified three 15:16:01
    12   been involved in that?                   15:14:04              12   broad areas of interest: patients safety, 15:16:15
    13       A. One of the individuals              15:14:05            13   community safety and advancing alternatives 15:16:19
    14   mentioned earlier, John -- John Decker.          15:14:06      14   to opioids.                         15:16:21
    15       Q. Okay. And so when you took the 15:14:11                 15             Were there any other similar      15:16:22
    16   advocacy position, did you understand one of 15:14:13          16   sort of broad areas of advocacy that you were 15:16:25
    17   your objectives or goals to be to -- to       15:14:15         17   pursuing when you -- when you first took the 15:16:28
    18   advance the wholistic or balanced approach to 15:14:20         18   advocacy directorship?                    15:16:32
    19   pain management?                          15:14:26             19        A. That was enough.                  15:16:34
    20       A. Yes.                        15:14:27                    20        Q. Okay. Okay. So focusing --           15:16:37
    21       Q. And I think you indicated the          15:14:27         21   just trying to understand what the steps you 15:16:40
    22   Alliance was one of the steps to take in that 15:14:28         22   then took to try to pursue each of those, in 15:16:43
    23   regard?                           15:14:32                     23   terms of alternatives to opioids, you've       15:16:47
    24       A. Uh-huh, correct.                 15:14:33               24   already testified about the MMA initiative. 15:16:50
    25       Q. Were there other steps that you 15:14:33                25   You testified about the balanced pain          15:16:53

                                                           Page 39                                                              Page 41
     1   took in that regard?                   15:14:35                 1 management initiative.                      15:16:55
     2        A. That's around the same time we 15:14:36                 2       A. Uh-huh.                        15:16:56
     3   started our medication disposal pouch          15:14:38         3       Q. Were there other steps you took 15:16:57
     4   initiative as well in order to work with     15:14:40           4   in pursuit of the promoting alternatives to 15:16:59
     5   community groups to rid homes of unused           15:14:43      5   opioid dimension of your -- of your advocacy? 15:17:03
     6   opioids, to keep them from being diverted out 15:14:46          6       A. Promoting opioids or promoting 15:17:05
     7   of their home medicine cabinet.             15:14:48            7   MMA? I'm sorry, promoting --                  15:17:09
     8        Q. Okay. And I certainly             15:14:50              8       Q. I thought you -- I thought one 15:17:11
     9   understand that -- that program as a         15:14:52           9   of the areas was promoting alternatives to 15:17:12
    10   diversion interdiction program.             15:14:54           10   opioids.                           15:17:13
    11            Did you also view that as part 15:14:58               11       A. That would be the MMA. I'm              15:17:14
    12   of the balanced or wholistic pain management 15:14:59          12   sorry.                            15:17:14
    13   initiative?                        15:15:03                    13       Q. Right.                       15:17:14
    14        A. No. No, we did not. But it         15:15:03            14       A. That would be the -- the MMA            15:17:15
    15   was part and parcel to the broader advocacy 15:15:05           15   platform, no, it was -- it was working --     15:17:20
    16   platform of Mallinckrodt's corporate -- of     15:15:08        16   that would have been it, I mean, just trying 15:17:23
    17   our corporate social responsibility         15:15:11           17   to understand how do we advance conceptually 15:17:24
    18   stewardship program.                     15:15:14              18   MMA.                                 15:17:26
    19            So I was charged with, you        15:15:15            19       Q. Okay.                        15:17:27
    20   know, how do you -- how do we continue to          15:15:17    20       A. I mean, it's -- that may sound 15:17:27
    21   advance that, our corporate social          15:15:19           21   simplistic on its surface. It was very       15:17:30
    22   responsibility. That includes MMA, safe         15:15:22       22   difficult for physicians who were used to       15:17:32
    23   disposal, collaboration, working with law       15:15:25       23   treating, managing surgery pre and postop one 15:17:36
    24   enforcement to -- for example, we make -- we 15:15:29          24   way and getting them to introduce a new          15:17:41
    25   make placebo products available for law         15:15:35       25   concept. It's not an easy task.           15:17:43

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     1       Q. Okay. And the balanced pain -- 15:17:47                 1   supportive of it.                     15:19:52
     2   balanced pain management --                  15:17:50          2        Q. Okay. And what was your               15:19:53
     3       A. Uh-huh.                      15:17:52                   3   rationale as you -- when you came up with the 15:19:54
     4       Q. -- approach, that was also part 15:17:52                4   idea and raised it with others at           15:19:57
     5   of the promotion of alternatives to opioids 15:17:54           5   Mallinckrodt?                          15:20:00
     6   or not?                           15:17:57                     6        A. The rationale behind that is        15:20:00
     7       A. It was -- it was part of it.      15:17:57              7   the understanding that in order to           15:20:02
     8   It was broader than just alternatives to     15:17:59          8   effectively address the opioid epidemic, it 15:20:06
     9   opioids, though. It was broad -- it was -- 15:18:01            9   requires all participants. This is an issue 15:20:10
    10   the only part we had with opioids in the       15:18:04       10   that a manufacturer or any one entity cannot 15:20:14
    11   Alliance for Balanced Pain Management was          15:18:06   11   address on their own. So it requires a         15:20:17
    12   when an opioid needed to be disposed of, when 15:18:10        12   collective effort that all of us need to be 15:20:19
    13   it was no longer needed, how is {sic} we, as 15:18:13         13   involved, whether it be physicians,           15:20:22
    14   a community, working together to help get        15:18:15     14   pharmacists, manufacturers, patient groups, 15:20:24
    15   word out that we need to dispose of unused 15:18:18           15   all have a responsibility to align and        15:20:27
    16   opioids to prevent them from being diverted 15:18:21          16   advance in the interest of public safety the 15:20:31
    17   into the community.                      15:18:23             17   importance of disposing of unused               15:20:35
    18       Q. Okay. So the disposal of            15:18:24           18   medications.                          15:20:38
    19   unused opioids was part of Mallinckrodt's       15:18:33      19        Q. Okay. And once you got support 15:20:38
    20   focus as part of the Alliance for Balanced 15:18:37           20   at Mallinckrodt for that idea, how did you       15:20:47
    21   Pain Management, correct?                   15:18:40          21   then go about enlisting others to become         15:20:49
    22       A. It was -- it was part of that, 15:18:41                22   involved in the Alliance?                  15:20:52
    23   yeah. And so we were -- we would -- for         15:18:44      23        A. We would reach out to groups           15:20:53
    24   example, many of those groups were the groups 15:18:46        24   who we felt had a vested interest in this.      15:20:55
    25   that we would partner with to help           15:18:48         25   May not necessarily have been their mission 15:20:59

                                                           Page 43                                                              Page 45
     1   communicate out the importance of disposal. 15:18:51           1 but yet may have a constituent that would be          15:21:01
     2       Q. Okay. In terms of the Alliance 15:18:53                 2   affected by unused opioids, having them            15:21:05
     3   for Balanced Pain Management, did              15:18:55        3   around. Or patient groups or groups that          15:21:06
     4   Mallinckrodt play any other roles as part of 15:18:56          4   were heavily interested in community safety 15:21:10
     5   that organization or group?               15:18:59             5   partnership.                            15:21:15
     6       A. Well, as I shared, we started       15:19:01            6             And so we would look at and          15:21:16
     7   the group, and as a member we -- I was one of 15:19:04         7   say, you know, who has similar missions,            15:21:17
     8   a member of the steering committee. So we -- 15:19:08          8   similar interests in this area, and we'd        15:21:19
     9   that program was managed under the              15:19:13       9   reach out to them. We would share the vision 15:21:21
    10   Mallinckrodt -- auspices of Mallinckrodt, and 15:19:15        10   of it. And we were transparent and say, this 15:21:25
    11   then for about 18 months to two years before 15:19:18         11   is what it is, this is what it's not, and     15:21:28
    12   we turned it over to another third-party      15:19:21        12   it's a voluntary position. Do you want to be 15:21:31
    13   group, 501(c), to manage.                 15:19:23            13   part of it, and they would say yes or no.        15:21:34
    14       Q. Okay. And whose idea was it to 15:19:26                14        Q. Okay. Prior to the Alliance, 15:21:36
    15   start the Alliance?                   15:19:28                15   had Mallinckrodt engaged in any other              15:21:43
    16       A. That was mine.                   15:19:31              16   initiatives to address the need for disposal 15:21:46
    17       Q. Okay. And did you discuss it         15:19:32          17   of unused opioids?                         15:21:51
    18   at anyone {sic} with Mallinckrodt before        15:19:34      18        A. We were working with what we               15:21:52
    19   trying to enlist other organizations to     15:19:36          19   called NADDI, the National Association of            15:21:58
    20   become part of it?                     15:19:40               20   Drug Diversion Investigators, where we would 15:22:03
    21       A. Yes, I did.                  15:19:40                  21   purchase and donate to NADDI drug                  15:22:06
    22       Q. Who did you discuss it with?         15:19:41          22   disposal boxes, these are at a drug kiosk, 15:22:08
    23       A. It would have been discussed          15:19:42         23   that patients then could take to their local 15:22:10
    24   with senior leadership, legal, medical, my     15:19:44       24   police station.                         15:22:12
    25   chain of command. So the organization was         15:19:48    25             And so we would donate -- we          15:22:13

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     1 would provide them to NADDI. NADDI then        15:22:14                 1   And it had a measurement on the back end of 15:24:38
     2 would work with local law enforcement through 15:22:15                  2   it to see if it actually -- where it was      15:24:40
     3 a grant process that the -- the local law         15:22:18              3   effective.                            15:24:42
     4 enforcement would request one of these drug               15:22:23      4        Q. And who at Mallinckrodt was              15:24:42
     5 disposal bins, and NADDI then would make it                15:22:25     5   involved in that program?                    15:24:43
     6 available as they were.                      15:22:28                   6        A. That was -- that was through           15:24:44
     7       Q.    And so what sort of              15:22:30                   7   our medical affairs department.                15:24:47
     8 organization was NADDI?                          15:22:31               8        Q. I want to focus just for            15:24:49
     9       A.    NADDI is a third-party              15:22:33                9   another moment on this concept of disposal of 15:24:54
    10 organization. Its membership's comprised of             15:22:35       10   unused opioids, because I asked you about it 15:24:59
    11 law enforcement, sheriffs, county, law               15:22:40          11   a moment ago, and I think a number of things 15:25:00
    12 enforcement.                              15:22:46                     12   you answered, at least to me, as I understood 15:25:02
    13       Q.    And so Mallinckrodt would make            15:22:46         13   them, dealt with diversion interdiction as       15:25:06
    14 boxes available to NADDI for NADDI to then                  15:22:47   14   compared to disposal of unused opioids.            15:25:10
    15 make available --                          15:22:50                    15             For example, the suspicious         15:25:12
    16       A.    To a local police station or   15:22:52                    16   order monitoring program, I mean, that didn't 15:25:14
    17 sheriff's office.                     15:22:53                         17   really deal directly with disposal of unused 15:25:19
    18       Q.    Okay. And do you know when                15:22:54         18   opioids, correct?                        15:25:23
    19 Mallinckrodt first began making the boxes              15:22:59        19        A. Same thing.                      15:25:24
    20 available to NADDI?                            15:23:02                20             MR. O'CONNOR: Can you repeat              15:25:26
    21       A.    I want to -- it was before         15:23:03                21        that, please?                     15:25:28
    22 advocacy started, and I want to say that that 15:23:06                 22   QUESTIONS BY MR. GOTTO:                              15:25:28
    23 program started around 2010.                     15:23:09              23        Q. Sure.                         15:25:29
    24       Q.    Okay. Apart from that program            15:23:11          24             My question -- the suspicious       15:25:29
    25 of making boxes available to NADDI, prior to              15:23:14     25   order monitoring program at Mallinckrodt,           15:25:30

                                                                   Page 47                                                            Page 49
     1 the Alliance for Balanced Pain Management,            15:23:18          1   that did not deal directly with the issue of 15:25:32
     2 were there any other initiatives at          15:23:21                   2   disposal of unused opioids, did it?          15:25:33
     3 Mallinckrodt of which you're aware to address 15:23:23                  3            MR. O'CONNOR: I will object.           15:25:37
     4 the need for disposal of unused opioids?         15:23:26               4            But you can answer as best you 15:25:39
     5      A.     Disposal? Well, we had the red      15:23:30                5       know.                          15:25:41
     6 flags video that we talked about. We've          15:23:35               6            THE WITNESS: No, not -- not to 15:25:41
     7 always -- we had a significant -- and I --      15:23:41                7       the extent to which we designed the        15:25:43
     8 I'm not -- can't speak to -- I -- the      15:23:43                     8       program to dispose of unused             15:25:45
     9 suspicious order monitoring program.             15:23:45               9       medications in the patient's home.        15:25:47
    10            We had -- we worked with law        15:23:50                10   QUESTIONS BY MR. GOTTO:                             15:25:49
    11 enforcement to dispose of it. We made            15:23:51              11       Q. Okay. And the red flags video 15:25:49
    12 available the placebos and the GPS tracking        15:23:53            12   that you mentioned, did that deal with the       15:25:51
    13 systems within bottles.                   15:23:57                     13   disposal of unused opioids?                 15:25:54
    14            We were also then addressing        15:23:59                14       A. To the disposal end, no.            15:25:55
    15 through a variation of REMS, risk evaluation         15:24:03          15       Q. Okay.                        15:25:56
    16 mitigation strategy -- Mallinckrodt's          15:24:08                16       A. It was just part of the larger 15:25:56
    17 developed and funded a program called             15:24:10             17   collection of what we were doing.              15:25:58
    18 REMEDIES. REMEDIES was a program that was                   15:24:15   18       Q. Sure, I understand. I'm just        15:25:59
    19 offered to physicians in conjunction with        15:24:17              19   trying to focus on the disposal --          15:26:01
    20 their REMS training that was designed to          15:24:21             20       A. Disposal, uh-huh.                15:26:01
    21 measure outcomes in physician behavior and            15:24:24         21       Q. -- issue for the moment.            15:26:04
    22 whether they were -- either reduced or          15:24:27               22            And you also mentioned making          15:26:05
    23 changed the way they prescribed opioids and          15:24:30          23   placebos available to law enforcement.           15:26:06
    24 how they were educating patients regarding           15:24:32          24            That didn't deal directly with 15:26:08
    25 safe disposal and did they start doing that.     15:24:36              25   disposal of unused opioids, correct?           15:26:10

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     1       A. No.                         15:26:12                         1   broad area you described earlier was patient 15:28:37
     2       Q. And the GPS tracking, did that 15:26:12                      2   safety.                           15:28:40
     3   deal with disposal of unused opioids?         15:26:14              3            Again, apart from the           15:28:41
     4       A. No.                         15:26:19                         4   initiatives we've already discussed, were        15:28:42
     5       Q. Okay. All right. So focusing 15:26:19                        5   there any other initiatives that you oversaw 15:28:43
     6   simply on the disposal of unused opioids       15:26:20             6   or promoted in your advocacy role aimed at 15:28:46
     7   issue prior to the Alliance, understand there 15:26:23              7   promoting patient safety?                  15:28:49
     8   was the program of making the boxes available 15:26:27              8        A. No. Nothing comes to mind.             15:28:50
     9   to NADDI, were there any other initiatives or 15:26:30              9        Q. Okay. And I think you               15:28:53
    10   programs at Mallinckrodt that you're aware 15:26:33                10   indicated you held the director of advocacy 15:28:56
    11   of?                              15:26:35                          11   position until the end of 2016.             15:28:58
    12       A. We had the CARES Alliance              15:26:35             12            Did you take a different         15:29:00
    13   program, but I don't know -- I'd have to look 15:26:43             13   position at that point?                15:29:02
    14   into it. I know there were several pieces in 15:26:46              14        A. Well, I still have the advocacy 15:29:03
    15   there. I don't know if any of the pieces had 15:26:48              15   title.                           15:29:05
    16   to do specifically with disposal. I'd have 15:26:49                16        Q. Okay.                       15:29:05
    17   to refresh my memory on that.               15:26:52               17        A. But was added, then, government 15:29:05
    18       Q. Okay. So going back now, a few 15:26:59                     18   affairs.                          15:29:09
    19   minutes ago you had described sort of three 15:27:01               19        Q. Okay. And government affairs, 15:29:10
    20   broad areas of initiative in your advocacy 15:27:04                20   what does that mean generally?                15:29:11
    21   role: the reduction of use of opioids, the 15:27:09                21        A. Government affairs broadened            15:29:12
    22   community safety and patient safety.          15:27:12             22   the responsibility to include engagement at a 15:29:16
    23            And we've talked about a few       15:27:16               23   federal and state level with legislators,     15:29:18
    24   things now. We've talked about MMA. We've 15:27:17                 24   policymakers.                         15:29:22
    25   talked about the Alliance. We've talked       15:27:19             25        Q. Okay. And so prior to 2017,          15:29:23

                                                                  Page 51                                                         Page 53
     1 about providing placebos to law enforcement.         15:27:22         1   did you not have responsibility in those      15:29:27
     2 We've talked about the suspicious order           15:27:26            2   areas?                             15:29:28
     3 monitoring program.                       15:27:30                    3        A. No. I engaged in it, but I did 15:29:29
     4           In terms of promotion of         15:27:31                   4   not have responsibility for it. I was party 15:29:31
     5 community safety, are there other initiatives 15:27:32                5   to it.                           15:29:35
     6 that you oversaw or promoted as part of your        15:27:37          6        Q. Okay. And so who had                15:29:35
     7 advocacy role?                         15:27:39                       7   responsibility for it during the period you 15:29:37
     8      A.    We would then actually get --        15:27:40              8   engaged in it but didn't have responsibility 15:29:38
     9 conduct community events, and so we would do           15:27:43       9   for it?                           15:29:40
    10 programs that we would partner with a             15:27:50           10        A. That would have been my boss,          15:29:40
    11 third-party group, Summit County, Lee County, 15:27:53               11   Derek Naten.                          15:29:44
    12 Summit County Health Department, local YMCAs. 15:27:57 12                           MR. GOTTO: Okay. Okay. I            15:29:45
    13 We would partner with Knights of Columbus.            15:28:01       13        think that's probably a good place to 15:29:47
    14 So groups that we felt would take -- could        15:28:04           14        stop for today. Let's go off the     15:29:48
    15 take charge, we would donate the pouches to          15:28:06        15        record.                       15:29:50
    16 them, and then they could then host a            15:28:11            16             VIDEOGRAPHER: We are going off 15:29:50
    17 community event to create awareness regarding 15:28:12               17        the record at 3:29 p.m.            15:29:51
    18 the importance of safe disposal.            15:28:15                 18         (Off the record at 3:29 p.m.)       15:29:54
    19      Q.    Okay. Were there other aspects       15:28:18             19              –––––––
    20 of these type of community events apart --         15:28:21          20
    21 from Mallinckrodt's perspective, apart from        15:28:25          21
    22 providing the disposal pouches and               15:28:27            22
    23 information about the importance of disposal? 15:28:29               23
    24      A.    No.                       15:28:31                        24
    25      Q.    Okay. And I think the third      15:28:32                 25


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Case:Highly
      1:17-md-02804-DAP Doc #:- 2177-16
              Confidential       SubjectFiled:
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                                               Further15Confidentiality
                                                         of 16. PageID #: 321713
                                                                             Review
                                              Page 54                                                   Page 56
     1               CERTIFICATE                          1        ACKNOWLEDGMENT OF DEPONENT
     2                                                    2
     3           I, CARRIE A. CAMPBELL, Registered        3
         Diplomate Reporter, Certified Realtime
     4   Reporter and Certified Shorthand Reporter, do    4            I,______________________, do
     5
         hereby certify that prior to the commencement        hereby certify that I have read the foregoing
         of the examination, Kevin Webb, was duly         5   pages and that the same is a correct
         sworn by me to testify to the truth, the
     6   whole truth and nothing but the truth.               transcription of the answers given by me to
     7           I DO FURTHER CERTIFY that the            6   the questions therein propounded, except for
         foregoing is a verbatim transcript of the            the corrections or changes in form or
     8   testimony as taken stenographically by and       7   substance, if any, noted in the attached
         before me at the time, place and on the date
     9   hereinbefore set forth, to the best of my            Errata Sheet.
         ability.                                         8
    10
                                                          9
                 I DO FURTHER CERTIFY that I am          10
    11   neither a relative nor employee nor attorney
    12
         nor counsel of any of the parties to this       11
         action, and that I am neither a relative nor    12   ________________________________________
         employee of such attorney or counsel, and
    13   that I am not financially interested in the          Kevin Webb, FACT        DATE
         action.                                         13
    14                                                   14
    15
    16                                                   15   Subscribed and sworn to before me this
            ____________________________                 16   _______ day of _______________, 20 _____.
    17      CARRIE A. CAMPBELL,                          17   My commission expires: _______________
            NCRA Registered Diplomate Reporter           18
    18      Certified Realtime Reporter
            California Certified Shorthand               19   Notary Public
    19      Notary Public                                20
            Dated: January 22, 2019                      21
    20
    21                                                   22
    22                                                   23
    23                                                   24
    24
    25                                                   25

                                              Page 55                                                   Page 57
     1         INSTRUCTIONS TO WITNESS                    1          –––––––
     2                                                                 ERRATA
     3           Please read your deposition over         2          –––––––
     4   carefully and make any necessary corrections.    3   PAGE LINE CHANGE/REASON
     5   You should state the reason in the               4   ____ ____ _____________________________
     6   appropriate space on the errata sheet for any    5   ____ ____ _____________________________
     7   corrections that are made.
                                                          6   ____ ____ _____________________________
     8           After doing so, please sign the
                                                          7   ____ ____ _____________________________
     9   errata sheet and date it. You are signing
                                                          8   ____ ____ _____________________________
                                                          9   ____ ____ _____________________________
    10   same subject to the changes you have noted on   10   ____ ____ _____________________________
    11   the errata sheet, which will be attached to
    12
                                                         11   ____ ____ _____________________________
         your deposition.
    13
                                                         12   ____ ____ _____________________________
                 It is imperative that you return        13   ____ ____ _____________________________
    14   the original errata sheet to the deposing       14   ____ ____ _____________________________
    15   attorney within thirty (30) days of receipt     15   ____ ____ _____________________________
    16   of the deposition transcript by you. If you     16   ____ ____ _____________________________
    17   fail to do so, the deposition transcript may    17   ____ ____ _____________________________
    18   be deemed to be accurate and may be used in     18   ____ ____ _____________________________
    19   court.                                          19   ____ ____ _____________________________
    20                                                   20   ____ ____ _____________________________
    21                                                   21   ____ ____ _____________________________
    22                                                   22   ____ ____ _____________________________
    23                                                   23   ____ ____ _____________________________
    24                                                   24   ____ ____ _____________________________
    25                                                   25


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Case:Highly
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                                                                             Review
                                          Page 58
     1          –––––––
                LAWYER'S NOTES
     2          –––––––
     3   PAGE LINE
     4   ____ ____ _____________________________
     5   ____ ____ _____________________________
     6   ____ ____ _____________________________
     7   ____ ____ _____________________________
     8   ____ ____ _____________________________
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    24   ____ ____ _____________________________
    25




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